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                            OFFICE OF THE CLERK
                        UNITED STATES DISTRICT COURT
                           Northern District of California

                                       CIVIL MINUTES


 Date: August 26, 2021             Time: 2:25 - 2:39 =             Judge: EDWARD M. CHEN
                                         14 Minutes

 Case No.: 21-cv-04335-EMC         Case Name: Sairam v. Mercy Retirement and Care Center

Attorney for Plaintiff: Michael Gawley
Attorney for Defendant: Drew Kozlow

 Deputy Clerk: Angella Meuleman                          Court Reporter: Debra Pas

                       PROCEEDINGS HELD BY ZOOM WEBINAR

[8] Motion to Dismiss held.

                                           SUMMARY

Parties stated appearances and proffered argument.

Court ordered parties to file supplemental briefs, citing cases on the more specific question of Dr.
Sairam’s ability to assert the false payment claim as a basis for the racketeering element of the
RICO claim, given he was not directly impacted. Briefs to be filed in one week and no more than
7 pages each. Matter will thereafter be taken under submission.
